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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF SOUTH CAROLINA


Jonathan Lee Riches,                                       )
                                                           )
                                     Plaintiff,            )
                                                           )             ORDER
vs.                                                        )
                                                           )
Alice Cooper, d/b/a Vincent Furnier;                       )   C/A No. 6:08-412-MBS-W MC
                                                           )
George F. W ill, d/b/a Journalist;                         )   C/A No. 6:08-413-MBS-W MC
                                                           )
Marvin Lee Aday, a/k/a Meatloaf;                           )   C/A No. 6:08-414-MBS-W MC
                                                           )
Garrison Keillor, d/b/a Host “A Prairie Home               )   C/A No. 6:08-415-MBS-W MC
Companion”;                                                )
                                                           )
Mike Gravel, d/b/a Former Alaska Senator;                  )   C/A No. 6:08-416-MBS-W MC
                                                           )
Ozzy Osbourne, a/k/a John Michael Osbourne;                )   C/A No. 6:08-417-MBS-W MC
                                                           )
Glenn Beck, d/b/a The Glenn Beck Show;                     )   C/A No. 6:08-418-MBS-W MC
                                                           )
Ellis Cose, d/b/a Newsweek Magazine;                       )   C/A No. 6:08-419-MBS-W MC
                                                           )
                                     Defendants.           )
                                                           )


         The above listed cases are civil rights complaints filed by a prisoner pursuant to 42
U.S.C. § 1983. Therefore, in the event that a limitations issue arises, the Plaintiff shall have
the benefit of the holding in Houston v. Lack, 487 U.S. 266 (1988) (prisoner's pleading was
filed at moment of delivery to prison authorities for forwarding to District Court). Under Local
Rule 73.02(B)(2), pretrial proceedings in this action have been automatically referred to the
assigned United States Magistrate Judge.

TO THE PLAINTIFF:

      The above listed cases are not in proper form for evaluation and service at this time.
Any case which Plaintiff fails to bring into proper form within the time permitted by
this Order may be dismissed for failure to prosecute and failure to comply with an
order of this Court under Rule 41 of the Federal Rules of Civil Procedure (Fed. R. Civ.
P.).
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       Plaintiff is given twenty (20) days from the date this Order is entered (plus three days
for mail time pursuant to Fed. R. Civ. P. Rule 6(e)) to:

       1) Pay the filing fee for each case. The payment should be in the amount of
       Three Hundred Fifty Dollars and no/cents ($350.00) per case. If possible,
       Plaintiff should indicate on the check that it (the check) is for payment of the
       initial installment of the filing fee and Plaintiff should reference the case action
       number (C/A No.) to which the check corresponds. The check for the filing fee
       should be made payable to “Clerk, U.S. District Court.” If unable to pay the
       filing fee in full, complete and submit the Form AO 240 and Financial
       Certificate referred to below.

       2) If unable to pay the full filing fee, complete, sign, and return a Form USM-
       285 for each Defendant in the above listed cases. Only one Defendant’s
       name and service address should appear on each form. The Defendant’s
       name and address should be placed in the spaces preceded by the words
       “SERVE AT.” Plaintiff’s name and address should be placed in the space
       designated “SEND NOTICE OF SERVICE COPY TO . . .”, and Plaintiff should
       sign where the form requests “Signature of Attorney or other Originator . . . .”
        Plaintiff must provide the Defendant’s complete address on the form. Plaintiff
       must provide, and is responsible for, information sufficient to identify the
       Defendant on the Form USM-285. The United States Marshal cannot serve
       a Defendant that is not properly identified, and Defendants that are not served
       may be dismissed as parties to this case. Blank forms are attached for
       Plaintiff’s use.

       3) Complete a separate summons form for each Defendant sued. In the
       space preceded by “TO:,” Plaintiff is required to provide a full address where
       the Defendant can be served. Plaintiff’s name and address should be printed
       in the section for “PLAINTIFF’S ATTORNEY (name and address).” Nothing
       else should be written by Plaintiff on either the front or back of the summons.
       Blank forms are attached for Plaintiff’s use.

       4) If unable to pay the full filing fee, complete the enclosed Financial
       Certificate. The Financial Certificate must be signed by you and completed
       and signed by the appropriate officer having authority to review and calculate
       financial information in relation to your inmate trust account. After you send
       the Financial Certificate to the appropriate officer and receive it back with the
       required information, including a signature, you must return the Financial
       Certificate to the Office of the Clerk of Court.

       5) If unable to pay the full filing fee, complete, sign and return the enclosed
       Application to Proceed W ithout Prepayment of Fees and Affidavit (Form AO
       240). W rite the civil action number (C/A No.) for each case, in which you wish
       to proceed without prepayment of the filing fee, on the Form AO 240.


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       In previous cases, Plaintiff has stated that he could not afford the postage required
to submit service documents to the Court. However, several courts have determined that
prisoners are not entitled to unlimited free postage. See Twyman v. Crisp, 584 F.2d 352,
359 (10 th Cir. 1978); Bach v. Coughlin, 508 F.2d 303, 307 (7 th Cir. 1974); Caputo v. Fauver,
800 F. Supp. 168 (D.N.J. 1992);Dugar v. Coughlin, 613 F. Supp. 849, 853 (S.D.N.Y. 1985).
Therefore, Plaintiff is responsible for the costs associated with mailing any documents
needed to bring the above listed case(s) into proper form.

       Plaintiff must place the civil action number(s) listed above on any document provided
to the Court pursuant to this Order. In the meantime, no process shall issue until the
items specified above have been reviewed by the assigned Magistrate Judge.

        Any future filings in the above listed case(s) must be sent to the address below.
All documents requiring Plaintiff’s signature shall be signed with his full legal name written
in his own handwriting. Pro se litigants shall not use the “s/typed name” format used in the
Electronic Case Filing System. In all future filings with this Court, Plaintiff is directed to use
letter-sized paper only, to write or type text on one side of a sheet of paper only and not to
write or type on both sides of any sheet of paper.1 Plaintiff is further instructed not to write
to the edge of the paper, but to maintain one inch margins on the top, bottom and sides of
each paper submitted.

          Plaintiff is a pro se litigant. Plaintiff’s attention is directed to the following important
notice:

          You are ordered to always keep the Clerk of Court advised in writing (Post
          Office Box 10768, Greenville, South Carolina 29603) if your address
          changes for any reason, so as to assure that orders or other matters that
          specify deadlines for you to meet will be received by you. If as a result of your
          failure to comply with this Order, you fail to file something you are required to
          file within a deadline set by a District Judge or a Magistrate Judge, your
          case(s) may be dismissed for violating this Order. Therefore, if you have
          a change of address before these cases have ended, you must comply with
          this Order by immediately advising the Clerk of Court in writing of such change
          of address and providing the Court with the docket number of all pending
          cases you have filed with this Court. Your failure to do so will not be excused
          by the Court.

          Put this Order with your own record of the above listed case(s) so that you will
          not overlook your duty. If an attorney serves you by mail on behalf of a
          Defendant, you also have a duty to notify that attorney if your address is to be


1
    Pursuant to Section 205 of the E-Government Act of 2002, Pub. L. 107-347, December 17, 2002,
116 Stat. 2899, this Court has implemented Electronic Case Filing (ECF). For this purpose, pro se
filings are scanned to create electronic docket records. Therefore, the use of only one side of a sheet
of letter-sized paper is required.

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        changed for mail purposes. If your address changes in the future, you must
        provide the Court with your own new address.

    WARNING OF POSSIBLE SANCTIONS FOR CONTINUED VEXATIOUS FILINGS

        Plaintiff has begun to build up an extensive history of cases filed in this Court in a
relatively short time.2 The first cases were filed and summarily dismissed in early 2006. See
Riches v. Bush, Civil Action No. 6:06-cv-00194-MBS; Riches v. Bureau of Prisons, Civil
Action No. 4:06-cv-00442-MBS. Since September 2007, Plaintiff has filed at least one
hundred (100) separate cases in this Court. The docket reflects that none of these cases
were filed in proper form, and that Plaintiff has not responded to at least eight (8) proper-
form orders that have been issued to date by this Court.3 Thus, it appears that Plaintiff may
be filing cases for the sole purpose of creating additional work for this and other federal
courts. 4 Each of Plaintiff’s pro se complaints, regardless of facial merit, currently must be
formally opened and docketed by Clerk’s staff. Following docketing, each case must
undergo the Court’s procedural initial review process to determine whether or not it should
be summarily dismissed, amended, or served on the opposing parties. See 28 U.S.C.
§636(b)(1)(B); D.S.C. Civ. R. 73.02.

         This Court has the authority to order a pre-filing injunction or other appropriate
sanction against the Plaintiff. Graham v. Riddle, 554 F.2d 133, 135 (4th Cir. 1977). See
also Safir v. United States Lines, Inc., 792 F.2d 19, 23-25 (2nd Cir. 1986)(five factors for
court to consider before imposing order of pre-filing review); Flint v. Haynes, 651 F.2d 970,
974 (4th Cir. 1981)(“joined other courts in approving pre-filing review of complaints brought
by prisoners with a history of litigiousness”). The sanctions which the Court may consider


2
  Since December, 2007, Plaintiff has filed ninety-two (92) cases, including the present action, with
this Court. See Civil Actions No. 4:07-cv-4094-MBS-W MC thru 4:07-cv-4098-MBS-W MC; 6:07-cv-
4135-MBS-W MC thru 6:07-cv-4139-MBS-W MC; 6:07-cv-4141-MBS-W MC thru 6:07-cv-4145-MBS-
W MC; 6:08-cv-0098-MBS-W MC thru 6:08-cv-0102-MBS-W MC; 6:08-cv-0120-MBS-W MC thru 6:08-
cv-0125-MBS-W MC; 6:08-cv-0166-MBS-W MC thru 6:08-cv-0174-MBS-W MC; 6:08-cv-0230-MBS-
W MC; 6:08-cv-0232-MBS-W MC thru 6:08-cv-0239-MBS-W MC; 6:08-cv-0253-MBS-W MC thru 6:08-
cv-0262-MBS-W MC; 6:08-cv-0294-MBS-W MC thru 6:08-cv-0301-MBS-W MC; 6:08-cv-0332-MBS-
W MC thru 6:08-cv-0349-MBS-W MC; 6:08-cv-0393-MBS-W MC thru 6:08-cv-0396-MBS-W MC; 6:08-
cv-0412-MBS-W MC thru 6:08-cv-0419-MBS-W MC.

3
 See, e.g., Riches v. Simpson, Civil Action No. 4:07-cv-03163-MBS; Riches v. Simpson, Civil Action
No. 4:07-cv-03177-MBS; Riches v. Simpson, Civil Action No. 4:07-cv-03191-MBS; Riches v.
Simpson, Civil Action No. 4:07-cv-03238-MBS; Riches v. Joel, Civil Action No. 4:07-cv-03313-MBS;
Riches v. Thomas, Civil Action No. 4:07-cv-03327-MBS; Riches v. Stewart, Civil Action No.
4:07-cv-03425-MBS; Riches v. Simpson, Civil Action No. 4:07-cv-03456-MBS-W MC.

4
 According to the internet website “Justia.com,” Plaintiff is also filing multiple similar cases in several
other federal courts around the country. Since December 1, 2007, Plaintiff has filed over 160 cases
across the country. This is malicious and vexatious behavior on Plaintiff’s                     part. See
http://dockets.justia.com.

                                                    4
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include, but are not limited to: denial of proceeding without prepayment of the filing fee; the
imposition of a filing injunction order placing restrictions on the types of cases Plaintiff may
file and the manner in which they must be submitted; monetary sanctions that will have to
be satisfied before any further filings may be made; dismissal of any action; entry of an order
of contempt of court; and any and all other forms of sanctions available to the Court under
Rule 11 of the Federal Rules of Civil Procedure. Overly litigious, malicious, and/or vexatious
individuals place a burden on the judicial system and divert judicial resources from other
pending litigation, so a court must “balance between insuring access to the courts and
controlling already overburdened dockets.” In Re Burnley, 988 F.2d 1, 4 (4th Cir. 1992).

      Accordingly, Plaintiff is hereby placed on notice that sanctions may be imposed
which will place restrictions on Plaintiff’s ability to file future cases in this Court if he:

         (1)    Continues to submit cases which he fails to pursue and prosecute;
                and/or
         (2)    Continues to file cases which fail to state a claim on which relief may be
                granted or are deemed frivolous or malicious. See § 1915(e)(2)(B)(i), (ii).

TO THE CLERK OF COURT:

        The Clerk of Court is instructed to provide Plaintiff with any forms or papers
referenced above that are necessary to bring these cases into proper form. If Plaintiff fails
to provide the items specified above to the Clerk of Court within the period prescribed in this
Order, the Office of the Clerk of Court shall return the file to the assigned United States
District Judge to determine if the case(s) should be dismissed.5 If, however, Plaintiff
provides this Court with the items specified above, the Office of the Clerk of Court should
forward the file to the assigned Magistrate Judge to determine if service of process should
be authorized.

        The Office of the Clerk of Court shall not enter any change of address submitted by
Plaintiff which directs that mail be sent to a person other than Plaintiff unless that person is
an attorney admitted to practice before this Court who has entered a formal appearance.

         IT IS SO ORDERED.


February 12, 2008                                      s/W illiam M. Catoe
Greenville, South Carolina                             United States Magistrate Judge

    Plaintiff’s attention is further directed to the important WARNING on the following page.



5
 A dismissal for failure to bring a case into proper form will not be deemed a “strike” for purposes of
28 U.S.C. § 1915(g). See In Re: Procedures in Civil Actions Filed by Prisoner Pro Se Litigants, 3:07-
mc-5014-JFA (D.S.C. Sept. 18, 2007).

                                                  5
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          IMPORTANT INFORMATION ....PLEASE READ CAREFULLY

                            WARNING TO PRO SE LITIGANTS

       All Documents That You File with the Court Will Be Available to the Public on the
Internet Through Pacer (Public Access to Court Electronic Records) and the Court’s
Electronic Case Filing System.

      YOU ARE RESPONSIBLE FOR PROTECTING YOUR IDENTITY FROM POSSIBLE
THEFT. YOU MUST REMOVE CERTAIN PERSONAL IDENTIFYING INFORMATION FROM ALL
DOCUMENTS BEFORE YOU SUBMIT THE DOCUMENTS TO THE COURT FOR FILING. IT IS
NOT THE COURT’S RESPONSIBILITY TO REMOVE PERSONAL IDENTIFYING INFORMATION
FROM YOUR DOCUMENTS BEFORE THEY ARE ELECTRONICALLY DOCKETED.

          Under the Privacy Policy of the Judicial Conference of the United States, a litigant,
whether represented by counsel or appearing pro se, must not put certain types of the
litigant’s (or any other person’s) personal identifying information in documents submitted
for filing to any United States District Court. This rule applies to ALL documents submitted for
filing, including pleadings, exhibits to pleadings, discovery responses, and any other document
submitted by any party for filing. If the litigant finds it necessary to submit a document containing
personal identifying information, the litigant must “black out” or redact the personal identifying
information prior to submitting the document to the Office of the Clerk of Court for filing.

1. Types of personal information that MUST be removed or redacted from documents before filing:

(a) Social Security numbers. If an individual’s social security number must be included in a
pleading, only the last four digits of that number shall be used.
(b) Names of Minor Children. If the involvement of a minor child must be mentioned, only the
initials of that child shall be used.
(c) Dates of Birth. If an individual’s date of birth must be included in a pleading, only the year shall
be used.
(d) Financial Account Numbers. If financial account numbers are relevant, only the last four
digits of these numbers shall be used.
(e) Juror Information. If a document containing identifying information about a juror or potential
juror must be filed (e.g., verdict form or indictment), all personal information identifying a juror or
potential juror must be redacted.

2. Other sensitive personal information of the litigant (or any other person) that should be
considered for possible removal or redaction:

        Any personal identifying number, including a driver’s license number; medical records;
employment history; individual financial information; proprietary or trade secret information;
information regarding an individual’s cooperation with the government; information regarding the
victim of any criminal activity; national security information; and/or sensitive security information
described in 49 U.S.C. § 114(s).
